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 4                          UNITED STATES DISTRICT COURT
 5                                DISTRICT OF NEVADA
 6                                           ***
                                             )
 7   UNITED STATES OF AMERICA,               )       2:11-CR-00014-PMP-RJJ
                                             )
 8                   Plaintiff,              )
                                             )               ORDER
 9   vs.                                     )
                                             )
10   REYNALDA BARNETT,                       )
                                             )
11                   Defendant.              )
                                             )
12

13            The Court having read and considered Defendant Barnett’s Motion to
14   Modify Magistrate’s Release/Detention Orders (Doc. #108) filed July 6, 2011, and
15   the United States Pretrial Services Office concurring in Defendant’s request,
16            IT IS ORDERED that Defendant Barnett’s Motion to Modify
17   Magistrate’s Release/Detention Orders (Doc. #108) is GRANTED, and the
18   previously imposed condition of release that Defendant Barnett seek and maintain
19   employment is hereby removed as a condition of her continued release on pretrial
20   supervision.
21

22   DATED: July 21, 2011.
23

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                                               PHILIP M. PRO
25                                             United States District Judge
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